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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

CHRISTOPHER ROBERT MILLER
#109083                                                      PLAINTIFF

v.                       No. 3:20-cv-248-DPM

KEVIN MOLDER, Sheriff, Poinsett
County; JERMEY, Chief Deputy, Poinsett
County Detention Center; TRISH
MARSHAL, Administrator, Poinsett
County Detention Center; and DOYLE
RAMEY, Supervisor, Poinsett County
Detention Center                                        DEFENDANTS

                             JUDGMENT
     Miller's complaint is dismissed without prejudice.



                                                 I'
                                 D.P. Marshall Jr.
                                 United States District Judge
